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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 MILTON SCHULZ, Individually and               )
 on behalf of all others similarly situated,   )     CASE NO. __________________
                                               )
       Plaintiff,                              )     JURY TRIAL DEMANDED
                                               )
 v.                                            )     CLASS ACTION COMPLAINT FOR
                                               )     DAMAGES AND INJUNCTIVE
 INFOGROUP INC.,                               )     RELIEF
                                               )
        Defendant.                             )


       Plaintiff, MILTON SCHULZ (“Plaintiff”), by and through the undersigned attorneys,

brings this Complaint against Defendant, INFOGROUP INC. (“Defendant” or “Infogroup”), on

behalf of himself and all others similarly situated and, except for those allegations pertaining to

Plaintiff or his attorneys (which are based on personal knowledge), alleges the following on

information and belief:

                                    NATURE OF THE CASE

       1.      Plaintiff brings this action under the Telephone Consumer Protection Act

(“TCPA”), 47 U.S.C. § 227.

       2.      The TCPA was enacted in response to widespread public outrage concerning the

proliferation of intrusive, nuisance telemarketing practices. See Mims v. Arrow Fin. Servs., LLC,

132 S. Ct. 740, 745 (2012).

       3.      The TCPA is designed to protect consumer privacy by prohibiting, among other

things, autodialed telemarketing calls to cellular telephones without the “prior express written

consent” of the called party. See In re Rules and Regulations Implementing the TCPA of 1991, 27

FCC Rcd. 1830, 1844 (2012); 47 C.F.R. § 64.1200 (f) (1), (12).
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            4.        Plaintiff is a private individual as well as the owner and operator of a chiropractic

facility located in Salina, Kansas.

            5.        Defendant Infogroup describes itself as a “big data, analytics and marketing

services provider that delivers best in class data-driven customer-centric technology solutions” and

“provides both digital and traditional marketing channel expertise that is enhanced by access to

our proprietary data on 245MM individuals and 25MM businesses, which is distributed real-time

to our clients.”1

            6.        This case challenges Defendant’s practice of initiating autodialed telemarketing

calls to cellular telephones without the prior express written consent required by the TCPA. See

47 C.F.R. § 64.1200(a)(2), (f)(8)(i).

            7.        On January 22, 2019, January 29, 2019, January 31, 2019, February 14, 2019,

February 21, 2019, February 26, 2019, March 1, 2019, and March 5, 2019, Defendant initiated

autodialed telemarketing calls to Plaintiff at (785) XXX-7777 (“Plaintiff’s Phone Number”).

Plaintiff’s Phone Number is Plaintiff’s cellular phone number as well as the number he uses for

his chiropractic business.

            8.        Plaintiff sent letters to Defendant on January 22, 2019, and February 21, 2019, and

sent an e-mail to Defendant on or about March 1, 2019, demanding Defendant cease its attempts

to contact Plaintiff and informing Defendant that its conduct violated the TCPA. Despite Plaintiff’s

repeated demands, Defendant continued to contact Plaintiff.

            9.        At no time prior to Defendant’s first contact, and at no time after, did Plaintiff give

express written consent to receive autodialed phone calls on his cellular phone from Defendant.




1   About, Infogroup, https://www.infogroup.com/about-infogroup (last visited April 1, 2019).


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       10.     Each time Defendant attempted to contact Plaintiff, Defendant utilized an

“automatic telephone dialing system” (“ATDS”).

       11.     Plaintiff seeks class-wide relief against Defendant for violating the Telephone

Consumer Protection Act, 47 U.S.C. § 227. A class action is the best means of obtaining redress

for Defendant’s illegal telemarketing and is consistent both with the private right of action afforded

by the TCPA and the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil

Procedure.

       12.     Defendant’s practice caused actual harm to Plaintiff and the other members of the

Class in several ways, including temporarily using their cellular phones and tying up their lines,

invading their privacy, causing wear and tear on their cellular phones, consuming battery life, and

causing some of them to be charged for calls they did not want to receive. Moreover, these calls

injured Plaintiff and the Class because they were frustrating, obnoxious, annoying, and a nuisance,

and disturbed their solitude.

                                   JURISDICTION & VENUE

       13.     Subject matter jurisdiction exists pursuant to 28 U.S.C. § 1331, because Plaintiff’s

claims arise under 47 U.S.C. § 227, a federal statute.

       14.     This Court has personal jurisdiction over Infogroup because it is headquartered

within the State of Texas and is registered to conduct business within the State of Texas.

       15.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendant

employs personnel in this District and a substantial portion of the actions and omissions giving

rise to the claims alleged in this Complaint substantially occurred in this District.




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                                             PARTIES

       16.        Plaintiff, Milton Schulz, is a resident of the State of Kansas and the owner of a

chiropractic facility located in Salina, Kansas. Plaintiff’s chiropractic facility is a sole

proprietorship.

       17.        Defendant, Infogroup Inc., is a Delaware corporation registered to do business in

the State of Texas. Defendant can be served via its registered agent, C.T. Corporation System,

1999 Bryan Street, Suite 900, Dallas, TX 75201-3136.

                    BACKGROUND AND ENFORCEMENT OF THE TCPA

       18.        In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry and protect consumers of telephone services. In so doing, Congress

recognized that “[u]nrestricted telemarketing … can be an intrusive invasion of privacy[.]”

Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, § 2(5) (1991) (codified at 47

U.S.C. § 227).

       19.        When Congress enacted the TCPA in 1991, it found that telemarketers were calling

18 million Americans every day. In re Rules and Regulations Implementing the TCPA of 1991, 18

FCC Rcd. 14014, ¶ 8 (2003) (“2003 Order”). By 2003, telemarketers were calling 104 million

Americans every day, assisted by the proliferation of new and more powerful autodialing

technology. Id., 18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).

       20.        The problems Congress identified when it enacted the TCPA have only grown

worse in recent years. The FCC has emphasized that action must be taken to “stop the scourge of

illegal robocalls” because “U.S. consumers received approximately 2.4 billion robocalls per month

in 2016.” See The FCC’s Push to Combat Robocalls & Spoofing, FCC, https://www.fcc.gov/about-

fcc/fcc-initiatives/fccs-push-combat-robocalls-spoofing (last visited May 12, 2019).




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             THE TCPA PROHIBITS AUTOMATED TELEMARKETING CALLS

          21.    The TCPA requires prior express written consent for all autodialed telemarketing

calls to cellular telephone numbers. See In re Rules and Regulations Implementing the TCPA of

1991, 27 FCC Rcd. 1830, 1844 (2012); 47 C.F.R. § 64.1200 (f) (1), (12).

          22.    “Prior express written consent” means:

          an agreement, in writing, bearing the signature of the person called that clearly
          authorizes the seller to deliver or cause to be delivered to the person called
          advertisements or telemarketing messages using an automatic telephone dialing
          system or an artificial or prerecorded voice, and the telephone number to which the
          signatory authorizes such advertisements or telemarketing messages to be
          delivered.

47 C.F.R. § 64.1200 (f) (8).

          23.    The agreement in writing:

          shall include a clear and conspicuous disclosure informing the person signing that:
          (A) By executing the agreement, such person authorizes the seller to deliver or
          cause to be delivered to the signatory telemarketing calls using an automatic
          telephone dialing system or an artificial or prerecorded voice; and (B) The person
          is not required to sign the agreement (directly or indirectly), or agree to enter into
          such an agreement as a condition of purchasing any property, goods, or services.

47 C.F.R. § 64.1200 (f) (8) (i) (A).

          24.    According to the FCC, “[t]he term seller means the person or entity on whose behalf

a telephone call or message is initiated for the purpose of encouraging the purchase or rental of, or

investment in, property, goods, or services, which is transmitted to any person.” 47 C.F.R. §

64.1200 (f) (9).

          25.    “The term advertisement means any material advertising the commercial

availability or quality of any property, goods, or services.” 47 C.F.R. § 64.1200 (f) (1) (emphasis

added).




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       26.     “The term telemarketer means the person or entity that initiates a telephone call or

message for the purpose of encouraging the purchase or rental of, or investment in, property,

goods, or services, which is transmitted to any person.” 47 C.F.R. § 64.1200 (f) (11).

       27.     “The term telemarketing means the initiation of a telephone call or message for the

purpose of encouraging the purchase or rental of, or investment in, property, goods, or services,

which is transmitted to any person.” 47 C.F.R. § 64.1200 (f) (12).

                                   FACTUAL ALLEGATIONS

A.     Defendant routinely initiates autodialed calls as part of its ongoing advertising and
       telemarketing campaigns.

       28.     On January 22, 2019, Defendant initiated an unsolicited call to Plaintiff’s Phone

Number using an automatic telephone dialing system (“ATDS”), as defined by 47 U.S.C. §

227(a)(1). Defendant contacted Plaintiff from phone number (402) 836-3870 (“Defendant’s ATDS

Phone Number”). See Exhibit A.2

       29.     Plaintiff had not, prior to this initial call from Defendant, expressly consented in

any manner to allow Defendant to contact him.

       30.     On January 22, 2019, Plaintiff attempted to contact Defendant at Defendant’s

ATDS Phone Number for the purpose of demanding Defendant cease its attempts to contact and

solicit Plaintiff at Plaintiff’s Phone Number, but was unable to speak with a human being.

       31.     Instead, Plaintiff’s call to Defendant’s ATDS Phone Number led directly to a

prerecorded message that states:

       You have reached Infogroup. Please visit www.expressupdate.com to claim and
       update your business listing so the information about your business is accurately


2
 On December 30, 2012, Plaintiff Milton Schulz registered his mobile number, (785) XXX-7777
(“Plaintiff’s Phone Number”), with the National Do Not Call Registry for the purposes of
preventing unsolicited telephone calls. See Exhibit B. At all times relevant to this Complaint,
Plaintiff’s Phone Number was registered with the National Do Not Call Registry.


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       displayed to users of online and mobile search devices. [new voice appears] You
       cannot leave a message for [another new voice appears] Express update.

       32.     Defendant’s unsolicited call to Plaintiff sought to encourage him to provide or

update contact information related to his chiropractic business so Defendant could include it within

one or more database(s) Defendant may sell to its subscribers, and so its subscribers could advertise

and tele-market to Plaintiff to sell Plaintiff their goods and services. Expressupdate,

www.expressupdate.com (“Make Sure Your Customers Can Find You” … “Build Your Profile”

and “Grow Your Business”) (last visited May 12, 2019).

       33.     Defendant uses its autodialed calls to Plaintiff and class members in order to

encourage and induce the use of its “Express Update” services. Defendant advertises “Express

Update makes it easier for customers to find and reach your business on the internet – and it’s all

FREE! It’s simple: Search Express Update for your business listing and make sure the information

is correct. Then we will automatically send your correct information to our partners….” Why Use

Express Update?, Expressupdate, https://www.expressupdate.com/why_express_update (last

visited May 12, 2019).

       34.     Express Update also advertises itself as “part of the Infogroup family.” Id. As “part

of the Infogroup family” Express Update “allows you to put the power of Infogroup’s data

expertise behind your online business listing. Our company of nearly 2,000 employees: Has been

providing industry leading data since 1972. … When you update your business listing with Express

Update, you make it easier for millions of consumers to find you.” Id. Courts have found that

communications which offer future advertising opportunities qualify as unsolicited

advertisements. See Matthew N. Fulton, D.D.S., P.C. v, Enclarity, Inc., 907 F.3d 948, 955 (6th Cir.

2018) (“[W]e find that Fulton has adequately alleged that the fax Fulton received was an




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unsolicited advertisement because it served as a commercial pretext for future advertising

opportunities.”).

       35.     Defendant’s autodialed calls were a pretext to obtain recipients’ participation in

Defendant’s proprietary database, access to which Defendant makes available to consumers and

other businesses. Embedded within the https://www.expressupdate.com/why_express_update

website is the weblink: https://www.infousa.com/lists/mailing-lists/, which states: “Find and reach

new customers using our targeted mailing lists. Need mailing lists for your next marketing

campaign? InfoUSA makes finding new customers a snap. Plus, once you’ve identified your target

audience, we have everything you need in order to design, print, and deliver your customized

mailer.” InfoUSA, https://www.infousa.com/lists/mailing-lists/ (last visited May 12, 2019).

       36.     Defendant’s website declares: “Infogroup proudly . . . Contacts over 100,000

businesses every day to verify our quality information and augment our data sets further . . . [and]

leverages our proprietary platforms and technology to manage over 25 billion records in support

of     thousands      of     marketing      campaigns.”       About      Infogroup,      Infogroup,

https://www.infogroup.com/about-infogroup (last visited May 12, 2019).

       37.     Defendant’s autodialed calls seek to increase awareness and use of Defendant’s

proprietary database services and increase traffic and business to Defendant including through

Defendant’s     websites.    See    The    Secret    to    Direct     Mail   Success,    InfoUSA,

https://www.infousa.com/marketing/direct-mail/ (last visited May 12, 2019) (“InfoUSA can help

you create a successful direct mail marketing piece instead of junk mail that ends up in the trash.

… With over 45 years of experience in the mail business, we can show you ways to optimize your

direct mail pieces for stronger open and response rates. To ensure maximum delivery, start




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by building your mailing list. This means identifying the right audience, your best customers,

and updating bad addresses.”).

         38.     Defendant’s autodialed calls promote Defendant’s commercially available

proprietary databases by offering its services and supposed benefits to called parties while

Defendant is collecting valuable data to provide to their paying customers. In other words, there

was a clear profit motive behind Defendant’s autodialed calls.

B.       Defendant’s multiple contacts with Plaintiff, and Plaintiff’s repeated efforts to end the
         harassment.

         39.     On January 29, 2019, January 31, 2019, February 14, 2019, and February 21, 2019,

Defendant further attempted to contact Plaintiff at Plaintiff’s Phone Number. During each attempt

Defendant contacted Plaintiff using the exact same ATDS number Defendant had used previously.

See Exhibit A.

         40.     On February 14, 2019, and February 21, 2019, Plaintiff answered the incoming call

from Defendant with the purpose of demanding that Defendant cease its attempts to contact

Plaintiff. Each time Plaintiff answered Defendant’s call Plaintiff he did not hear any sound and

noticed the call was immediately “disconnected.” Upon information and belief, the silence, pause,

and near immediate subsequent disconnection is characteristic of automatic phone dialing systems.

See What is a Dialer, Babelforce, https://www.babelforce.com/explainer/what-is-a-dialer/ (“[C]all

centers may place [via automated dialing systems] more calls than they can handle, leading to

silent     or     abandoned      calls.”);    see       also   Dropped       Calls,     HostedDialer,

https://support.hosteddialer.com/knowledgebase/articles/112649-dropped-calls (last visited May

12, 2019) (“If no agent is available to take the call after a specified amount of time, the [automatic]

dialer will hang up on the call, resulting in a dropped call.”).




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          41.    On February 21, 2019, Plaintiff sent Defendant a letter demanding Defendant cease

its continued attempts to contact Plaintiff. In this letter Plaintiff also informed Defendant that its

calls to Plaintiff violated the TCPA. See Exhibit C.

          42.    Despite Plaintiff’s written demands, Defendant again attempted to contact Plaintiff

on February 26, 2019, and again on March 1, 2019. See Exhibit A. During each attempt, Defendant

contacted Plaintiff using the exact same ATDS number Defendant had used previously. See id.

          43.    After Defendant’s March 1, 2019, phone call, Plaintiff contacted Infogroup via e-

mail at the e-mail address “Corporate.Communications@infogroup.com” for the purposes of

further demanding Defendant cease its attempts to contact and solicit Plaintiff. See Exhibit D.

          44.    On March 1, 2019, Defendant responded to Plaintiff’s e-mail communication from

e-mail address “DoNotReply@infogroup.com” with the following response:

          We do apologize, but this was in our business database, and the violations you are
          indicating only apply to consumer data. We have removed your business from our
          business database and you will receive no additional calls.

See Exhibit D.

          45.    The TCPA has no “business exception” for calls to cellular phones. See 47 U.S.C.

§ 227.

          46.    On March 5, 2019, four days after promising that it had removed Plaintiff’s Phone

Number from its database, Defendant attempted to contact Plaintiff a seventh time. See Exhibit A.

During this attempt Defendant again contacted Plaintiff from Defendant’s ATDS Phone Number.

See id.

          47.    At no time prior to Defendant’s initial call on January 22, 2019, and at no time after,

did Plaintiff give any form of express consent to allow Defendant to contact him.




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        48.     Each of Defendant’s unsolicited phone calls to Plaintiff’s Phone Number were

made via an ATDS.

        49.     Each of Defendant’s seven unsolicited phone calls to Plaintiff’s Phone Number

violated the TCPA.

C.      Defendant’s conduct was knowing or willful; Defendant has previously been sued for
        violating the TCPA.

        50.     As a self-described “big data, analytics and marketing services provider” Defendant

knew the TCPA regulated its conduct and that the TCPA does not provide a business-to-business

exception. Notwithstanding this fact, Defendant systematically contacted Plaintiff even after it

promised to stop.

        51.     Additionally, this is not the first time Defendant has been sued for violations of the

Telephone Consumer Protection Act. See Complaint, Alves v. Infogroup Inc., No. 2:16-cv-09328

(C.D. Cal. Dec. 16, 2016), attached hereto as Exhibit E. For example, on December 16, 2016, Terri

Alves, a resident of California, filed a proposed Class Action suit against Defendant in United

States District Court for the Central District of California alleging Defendant violated the TCPA.

See id. Approximately 11 days after the Complaint was filed, the Complaint was voluntarily

dismissed by the named plaintiff, as to prejudice against the named Plaintiff only, and without

prejudice as to the rest of the class.

        52.     At minimum, Defendant became aware that its practices violated the TCPA on or

around December 16, 2016.

        53.     Despite Defendant’s prior knowledge of the TCPA, Defendant attempted to contact

Plaintiff using an ATDS on January 22, 2019, January 29, 2019, January 31, 2019, February 14,

2019, February 21, 2019, February 26, 2019, March 1, 2019, and March 5, 2019.




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       54.     At the very least Plaintiff’s letters to Defendant on January 22, 2019, and February

21, 2019, land his e-mail communication to Defendant on March 1, 2019, complaining of

Defendant’s unconsented autodialed calls put Defendant on notice that its calls violated the TCPA.

       55.     As such, Defendant knowingly or willfully violated the TCPA no less than seven

times with respect to Plaintiff.

       56.     Upon information and belief, Defendant has attempted to contact hundreds or

thousands of additional individuals in knowing or willful violation of the TCPA.

                                     CLASS ALLEGATIONS

       57.     Plaintiff brings this action pursuant to Rules 23(a), 23(b)(2), and 23(b)(3) of the

Federal Rules of Civil Procedure on behalf of himself and all others similarly situated on behalf

of the following Class:

       All persons in the United States (1) to whom one or more telemarking or advertising
       calls were initiated, (2) to their cellular telephone number, (3) placed by or on
       behalf of Infogroup (4) using an automatic telephone dialing system or an artificial
       or prerecorded voice, (5) on or after May 22, 2015; and (6) without their prior
       express written consent.

       58.     Not included in the Class is Defendant or any of its members, affiliates, parents,

subsidiaries, officers, directors, employees, successors, or assigns; or the Judge assigned to this

case, including his or her immediate family, or his or her staff. Plaintiff reserves the right to modify

or amend the Class definition during the course of this litigation.

       59.     This action has been brought, and may be properly maintained, under Federal Rule

of Civil Procedure Rule 23. The proposed Class and Class Representative satisfy the criteria of

Rule 23 as outlined below.

       60.     Plaintiff is a member of the proposed class.




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       61.     Numerosity—Federal Rules of Civil Procedure 23(a)(1).                Defendant used

automated technology that is capable of contacting thousands of people per day, so the potential

class members number in the hundreds or thousands, at least. Individual joinder of all members in

the case would be impracticable, and the disposition of their claims as a Class will benefit the

parties and the Court. The proposed class members should be identifiable from a review of

Defendant’s marketing documents, phone records, contact lists, and other internal documents.

       62.     Commonality and Predominance—Federal Rules of Civil Procedure 23(a)(2)

and 23(b)(3). This action involves common questions of law and fact which predominate over

any questions which may affect individual Class members, including, but not limited to:

       a.      Whether Defendant used an automatic telephone dialing system to call the cellular
               phones of Plaintiff and others;

       b.      Whether Defendant initiated telemarketing calls to cellular phones without the prior
               express written consent of the called parties;

       c.      Whether Defendant’s alleged conduct violated the Telephone Consumer Protection
               Act;

       d.      Whether Defendant’s actions were knowing or willful and, if so, whether the Court
               should treble the statutory damages awarded to Plaintiff and other members of the
               class;

       e.      Whether Class members are entitled to statutory damages, equitable relief,
               exemplary damages, and/or other relief; and

       f.      The amount and nature of relief to be awarded to Plaintiff and Class members.

       63.     Typicality—Federal Rules of Civil Procedure 23(a)(3). Plaintiff’s claims are

based on the same legal theories as all other Class members and therefore are typical of the claims

of class members. Plaintiff and the other class members all received telephone calls to their cellular

phones through the same or similar dialing system.




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       64.     Adequacy of Representation—Federal Rule of Civil Procedure 23(a)(4). The

above-named Plaintiff is an adequate Class representative because Plaintiff’s interests do not

conflict with the interests of the Class he seeks to represent. Plaintiff has retained counsel who are

well-versed and experienced in complex litigation and class action litigation, and Plaintiff and

counsel intend to vigorously prosecute this action on behalf of Plaintiff and the Class. Plaintiff

and his attorneys will fairly and adequately protect the interests of the Class.

       65.     Declaratory and Injunctive Relief—Federal Rule of Civil Procedure 23(b)(2).

Injunctive and declaratory relief are appropriate because Defendant has acted or refused to act on

grounds which are generally applicable to Plaintiff and Class members. Thus, final injunctive and

declaratory relief, as described below, are appropriate with respect to the Class.

       66.     Superiority—Federal Rule of Civil Procedure 23(b)(3).               A class action is

superior to any other available means for the fair and efficient adjudication of this action; no

unusual difficulties are likely to be encountered in the management and litigation of this class

action. When compared to the burden and expense required to litigate each Class member’s

claims, each individual Class member’s claims are relatively small; thus, it would be impracticable

for individual Class members to seek redress for Defendant’s wrongful conduct. Even if individual

Class members could afford individual suits, the court system could not. Adjudication of this

matter by means of a class action ensures the most efficient and time- and cost-effective resolution

by providing economy of scale, presents fewer management difficulties, and provides the benefit

of a comprehensive supervision and a final adjudication by a single court.

       67.     Class Action Maintainable under Rule 23(b)(3). A class action is appropriate

because common questions of law and fact predominate over any individual questions affecting

only individual members. Class treatment is superior to the alternatives for the fair and efficient




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adjudication of the controversy alleged herein. Such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single form simultaneously,

efficiently, and without the duplication of effort and expense that numerous individual actions

would entail. No difficulties are likely to be encountered in the management of this class action

that would preclude its maintenance as a class action, and no superior alternative exists for the fair

and efficient adjudication of this controversy.

       68.      Class Action Maintainable Under Rule 23(b)(2). By continuing to contact

individuals and businesses in violation of the TCPA, Defendant has acted or refused to act on

grounds generally applicable to the Class, thereby making declaratory relief an appropriate remedy

for Plaintiff and the Class.

                    COUNT I – VIOLATION OF THE TELPHONE
                CONSUMER PROTECTION ACT, 47 U.S.C. § 227, ET SEQ.

       69.      Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

herein, and brings Count I on behalf of himself and the entire Class.

       70.      Defendant’s acts and omissions alleged herein constitute numerous and multiple

violations of the TCPA, 47 U.S.C. §227, as Defendant called the cellular telephone numbers of

Plaintiff and the other Class members using an ATDS.

       71.      Plaintiff and the other members of the Class are entitled to an award of $500 in

damages for each and every call Defendant made to their cellular telephone numbers using an

ATDS or artificial or prerecorded voice in violation of the TCPA, pursuant to 47 U.S.C. §

227(b)(3)(B).

       72.      Plaintiff and members of the Class are also entitled to, and do seek, injunctive relief

prohibiting Defendant from violating the TCPA, 47 U.S.C. §227, by making calls, except for




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emergency purposes, to cellular telephone numbers using an ATDS or artificial or prerecorded

voice.

         73.    Defendant’s violations were knowing or willful.

         74.    If the Court determines that Defendant’s actions were knowing or willful, then

Plaintiff requests that the Court increase the statutory damages up to three times the amount. 47

U.S.C. § 227(b)(3).

         WHEREFORE, Plaintiff, for himself and all class members, requests the following relief:

         A.     Certification of the proposed class;

         B.     Appointment of Plaintiff as representative of the class;

         C.     Appointment of Plaintiff’s counsel as counsel for the class;

         D.     An order awarding statutory damages of $500 per phone call at issue pursuant to
                47 U.S.C. § 227(b)(3)(B);

         E.     An order increasing those statutory damages up to three times ($1,500 per call at
                issue) pursuant to 47 U.S.C. § 227(b)(3)(C);

         F.     An order enjoining Defendant from engaging in the same or similar unlawful
                practices alleged herein;

         G.     An order awarding costs of suit;

         H.     Leave to amend this Complaint to conform to the evidence presented at trial; and
                Orders granting any other relief this Honorable Court deems equitable, proper, and
                just.

                                              Respectfully submitted,

                                              CLARK & McCREA

                                              By: /s/ Collen A. Clark
                                                      COLLEN A. CLARK
                                                      State Bar No. 04309100
                                                      JACOB L. von PLONSKI
                                                      State Bar No. 24098554




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